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                                UNITED STATES BANKRUPTCY COURT
                                   NORTH DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

         In RE                                            CASE NUMBER
                                                                  16-68343-wlh
         CAMELOT CLUB CONDOMIINIUM
         ASSOCATION, INC,                                         JUDGE       Wendy Hagenau

         DEBTOR                                                   CHAPTER 11


                  DEBTOR'S STANDARD MONTHLY OPERATING REPORT (BUSINESS)
                                     FOR THE PERIOD
                               FROM 4/1/2018   TO 4/30/2018

         Comes now the above-named debtor and files its Monthly Operating Reports in accordance with the
         Guidelines established by the United States Trustee and FRBP 2015.

         Dated:                                                    Attorney for the Debtor’s Signature
           Debtor’s Address and Phone Number
                                                                   M. Denise Dotson, LLC
           CAMELOT CLUB CONDOMINIUM                                170 Mitchell St., SW
           ASSOICATION, INC.                                       Atlanta, GA 30303

           5655 Old National Highway                               phone: (404)526-8869
           College Park, Ga 30349                                  fax: (404)526-8855
           404-389-0060
                                                                   email: ddotsonlaw@me.com
                                                                   web: www.ddotsonlaw.com


         Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously
         provided to the United States Trustee Office. Monthly Operating Reports must be filed by the 20 th day of
         the following month.

           For assistance in preparing the Monthly Operating Report, refer to the following resources on the United
           States Trustee Program Website, http://www.usdoj.gov/ust/r21/reg_info.htm
1)   Instructions for                                                                     Preparations of Debtor’s Chapter 11
     Monthly Operating          Debtor's Address and Phone Number                         Report
2)   Initial Filing                                                                       Requirements
3)   Frequently Asked           5655 Old National Highway                                 Questions
                                                                                          (FAQs)http://www.usdoj.gov/ust/
                              College Park, Ga 30236
                              404-389-0600



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                   SCHEDULE OF RECEIPTS AND DISBURSEMENTS
             FOR THE PERIOD BEGINNING 04/01/2018 AND ENDING 04/30/2018

Name of Debtor:                    Camelot Club Condominium Association
Case Number
Date of Petition:
                                                                                                    Cumulative Petition
                                                                            Current Month
                                                                                                         to Date
   1. Funds At Beginning Of Period                                                $9,147.42   (a)            $38,121.03   (b)
   2. Receipts:                                                                                                   $0.00
                  A. Cash Sales                                                  $47,723.05                 $409,676.93
                         Net Cash Sales-                                                                     $20,660.84
               B. Accounts Receivable                                                                           $830.00
               C. Other Receipts (See Mor-3), (You Must Attach A Rent
                                                                                  $2,188.38                  $61,790.30
             Roll.)
   3. Total Receipts (Lines 2a+2b+2c)                                            $49,911.43               $1,053,426.34
   4. Total Funds Available For Operations (Line 1 + Line 3                      $59,058.85               $1,394,484.22
   5. Disbursements
                  A. Advertising
                  B. Bank Charges
                  C. Contract Labor
                  D. Fixed Asset Payments (Not Incl. In “N”)
                  E. Insurance                                                   $29,310.44                 $527,093.39
                  F. Inventory Payments (See Attach. 2)
                  G. Leases
                  H. Manufacturing Supplies
                  I. Office Supplies                                                 $46.98                   $4,680.80
                  J. Payroll - Net (See Attachment 4b)
                  K. Professional Fees (Accounting & Legal)                       $4,371.25                  $76,613.43
                  L. Rent
                  M. Repairs & Maintenance                                        $9,393.32                 $122,690.23
                  N. Secured Creditor Payments (See Attach. 2)
                  O. Taxes Paid - Payroll (See Attachment 4c)
                  P. Taxes Paid - Sales & Use (See Attachment 4c)
                  Q. Taxes Paid - Other (See Attachment 4c)                                                      $40.00
                  R. Telephone                                                        $0.00                   $7,198.11
                  S. Travel & Entertainment
                  Y. U.S. Trustee Quarterly Fees                                                                $325.00
                  U. Utilities                                                   $12,313.19                 $345,730.74
                  V. Vehicle Expenses
                  W. Other Operating Expenses (See Mor-3)                                                     $3,552.00
   6. Total Disbursements (Sum Of 5a Thru W)                                     $55,435.18               $1,087,923.70
   7. Ending Balance (Line 4 Minus Line 6) (C)(C)                                 $3,623.67   (c)           $306,560.52   (c)


I declare under penalty of perjury that this statement and the accompanying documents
and reports are true and correct to the best of my knowledge and belief.
This 20 day of May, 2018                            Fran Hughes
                                                                (Signature)
(a) This number is carried forward from last month’s report. For the first report only, this number will
be the balance as of the petition date.
(b) This figure will not change from month to month. It is always the amount of funds on hand as of the
date of the petition
(c) These two amounts will always be the same if form is completed correctly.


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       MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont’d)

                       Detail of Other Receipts and Other Disbursements

OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2,
Line 2C.
                                                                    Cumulative
                    Description                 Current Month
                                                                  Petition to Date


       Late Fees Delinquent Assessments       $216.38           $34,864.32
       Miscellaneous Fees                     $1972.00          $17,326.72
       Admin Fees                                               $445.00
       NSF                                                      $90.00


       TOTAL OTHER RECEIPTS                   $2188.38          $52,726.04

“Other Receipts” includes Loans from Insiders and other sources (i.e. Officer/Owner,
related parties’ directors, related corporations, etc.). Please describe below
   Loan Amount             Source of Funds        Purpose        Repayment Schedule
_______________         ______________       ______________      ______________
_______________         ______________       ______________      ______________

OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on
Page MOR-2, Line 5W.
                                                                 Cumulative

         Description                     Current Month                Petition to Date

        Utility Deposit                                                   $2,600.00
       HOA Units Dues                                                     $ 952.00

TOTAL OTHER DISBURSEMENTS                                              _ $3,552.00 ___




NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement.




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                                                ATTACHMENT 1

            MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

Name of Debtor:                                         Case Number:

Reporting Period beginning                                Period ending

ACCOUNTS RECEIVABLE AT PETITION DATE:

                          ACCOUNTS RECEIVABLE RECONCILIATION
(Include all accounts receivable, pre-petition and post-petition, including charge card sales which have
not been received):

          Beginning of Month Balance                        $                      (a)
            PLUS: Current Month New Billings
            MINUS: Collection during the Month              $                      (b)
            PLUS/MINUS: Adjustments or Write-offs           $                       *
          End of Month Balance                              $                      (c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:



                         POST PETITION ACCOUNTS RECEIVABLE AGING
                      (Show the total for each aging category for all accounts receivable)

          0-30 Days         31-60 Days       61-90 Days             Over 90 Days         Total

      $                    $                $                   $                  $              (c)


For any receivables in the “Over 90 Days” category, please provide the following:

                           Receivable
   Customer                 Date           Status (Collection efforts taken, estimate of collectability,
                                           Write-off, disputed account, etc.)




(a)This number is carried forward from last month’s report. For the first report only, this number will be
   the balance as of the petition date.
(b)This must equal the number reported in the “Current Month” column of Schedule of Receipts and
    Disbursements (Page MOR-2, Line 2B).
(c)These two amounts must equal.




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                           ATTACHMENT 2
        MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

Name of Debtor:                                                            Case Number:

Reporting Period beginning                                                 Period ending

In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not
include amounts owed prior to filing the petition. In the alternative, a computer generated list of
payables may be attached provided all information requested below is included.
                                   POST-PETITION ACCOUNTS PAYABLE
  Date               Days
 Incurred          Outstanding             Vendor                      Description                                   Amount




TOTAL AMOUNT
                             (b)
☐ Check here if pre-petition debts have been paid.     Attach an explanation and copies of supporting documentation.


   ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only)
Opening Balance                  $                              (a)
  PLUS: New Indebtedness Incurred This Month                           $
  MINUS: Amount Paid on Post Petition,
         Accounts Payable This Month                                   $
  PLUS/MINUS: Adjustments                                              $                                                *
Ending Month Balance                                                   $                                               (c)

*For any adjustments provide explanation and supporting documentation, if applicable.

                                       SECURED PAYMENTS REPORT
List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a
modification agreement with a secured creditor/lessor, consult with your attorney and the United States Trustee
Program prior to completing this section).
Number               Total          Date                                 of Post           Amount of
Secured             Payment         Amount            Petition            Post Petition
Creditor/                   Due This         Paid This         Payments           Payments
Lessor                      Month            Month             Delinquent         Delinquent




TOTAL                                                                                     (d)
(a)This number is carried forward from last month’s report.   For the first report only, this number will be zero.
(b, c)The total of line (b) must equal line (c).
(d)This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5N).



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                                 ATTACHMENT 3
                      INVENTORY AND FIXED ASSETS REPORT

Name of Debtor:                                           Case Number:

Reporting Period beginning                                     Period ending

                                    INVENTORY REPORT

INVENTORY BALANCE AT PETITION DATE:                            $
INVENTORY RECONCILIATION:
     Inventory Balance at Beginning of Month              $
(a)
       PLUS: Inventory Purchased During Month             $
       MINUS: Inventory Used or Sold                      $
       PLUS/MINUS: Adjustments or Write-downs             $                                    *
     Inventory on Hand at End of Month                    $
METHOD OF COSTING INVENTORY:

*For any adjustments or write-downs provide explanation and supporting documentation, if
applicable.

                                    INVENTORY AGING

       Less than 6   6 months to     Greater than   Considered
       months old    2 years old     2 years old    Obsolete           Total Inventory

                %               %              %               % =             100%*

* Aging Percentages must equal 100%.
☐ Check here if inventory contains perishable items.

Description of Obsolete Inventory:

                                   FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE:                     $3,500              (b)
(Includes Property, Plant and Equipment)

BRIEF DESCRIPTION (First Report Only):         MISC FURNITURE AND OFFICE
EQUIPMENT FOR CLUB HOUSE



FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month               $        3,500
(a)(b)
       MINUS: Depreciation Expense                         $
       PLUS: New Purchases                                 $

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      PLUS/MINUS: Adjustments or Write-downs       $                                          *
Ending Monthly Balance                             $    3,500

*For any adjustments or write-downs, provide explanation and supporting documentation, if
applicable.

BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE
REPORTING PERIOD:


(a)This number is carried forward from last month’s report. For the first report only, this number
will be the
   balance as of the petition date.
(b)Fair Market Value is the amount at which fixed assets could be sold under current economic
conditions.
   Book Value is the cost of the fixed assets minus accumulated depreciation and other
adjustments.




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                                      ATTACHMENT 4A

        MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor:                                               Case Number:
Reporting Period beginning                                    Period ending

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank
Activity. A standard bank reconciliation form can be found at
http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts other than the three required by the
United States Trustee Program are necessary, permission must be obtained from the United
States Trustee prior to opening the accounts. Additionally, use of less than the three required
bank accounts must be approved by the United States Trustee.

NAME OF BANK:            FIRST CENTURY BANK N.A                         BRANCH:
GAINSVILLE, GA

ACCOUNT NAME:                                             ACCOUNT NUMBER:
XXXXXX-066-9

PURPOSE OF ACCOUNT:                   OPERATING

        Ending Balance per Bank Statement                           $     19,636.36
        Plus Total Amount of Outstanding Deposits                   $        -0-
        Minus Total Amount of Outstanding Checks and other debits   $     (11,662.69) *
        Minus Service Charges                                       $
        Ending Balance per Check Register                           $    7,973.67 **(a)

*Debit cards are used by

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty
Cash on Attachment 4D: ( ☐ Check here if cash disbursements were authorized by United
States Trustee)

 Date        Amount          Payee              Purpose      Reason for Cash Disbursement




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           TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
 “Total Amount of Outstanding Checks and other debits”, listed above, includes:

                      $________________Transferred to Payroll Account
                      $________________Transferred to Tax Account




(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the
amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                       ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor:                                         Case Number:

Reporting Period beginning                              Period ending

NAME OF BANK:                                        BRANCH:

ACCOUNT NAME:

ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:                    OPERATING

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included. (SEE ATTACHED)

          CHECK
DATE      NUMBER           PAYEE                    PURPOSE                            AMOUNT




TOTAL                                                                              $



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                                         ATTACHMENT 4B

            MONTHLY SUMMARY OF BANK ACTIVITY - PAYROLL ACCOUNT

DEBTOR HAS NO EMPLOYEES
Name of Debtor:                                             Case Number:

Reporting Period beginning                                   Period ending

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank
Activity. A standard bank reconciliation form can be found at
http://www.usdoj.gov/ust/r21/reg_info.htm.

NAME OF BANK:                                        BRANCH:

ACCOUNT NAME:                                        ACCOUNT NUMBER:
PURPOSE OF ACCOUNT:                  PAYROLL

        Ending Balance per Bank Statement                                  $
         Plus Total Amount of Outstanding Deposits                         $
         Minus Total Amount of Outstanding Checks and other debits         $                    *
         Minus Service Charges                                             $
        Ending Balance per Check Register                                  $                    **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:
The following disbursements were paid by Cash: ( ☐ Check here if cash disbursements were authorized
by United States Trustee)

Date       Amount            Payee                Purpose        Reason for Cash Disbursement




The following non-payroll disbursements were made from this account:

Date     Amount          Payee          Purpose                  Reason for disbursement from this
                                                                 account

_____
_____
_____

(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount
reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).



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                                 ATTACHMENT 5B
                        CHECK REGISTER - PAYROLL ACCOUNT

DEBTOR HAS NO EMPLOYEES
Name of Debtor:                                         Case Number:

Reporting Period beginning                              Period ending

NAME OF BANK:                                           BRANCH:

ACCOUNT NAME:

ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:                    PAYROLL

Account for all disbursements, including voids, lost payments, stop payment, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

        CHECK
DATE    NUMBER             PAYEE                         PURPOSE                         AMOUNT




TOTAL                                                                                $




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                                    ATTACHMENT 4C

           MONTHLY SUMMARY OF BANK ACTIVITY - TAX ACCOUNT

DEBTOR HAS NO EMPLOYEES
Name of Debtor:                                                Case Number:

Reporting Period beginning                                      Period ending

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank
Activity. A standard bank reconciliation form can be found on the United States Trustee
website, http://www.usdoj.gov/ust/r21/index.htm.

NAME OF BANK:                                      BRANCH:

ACCOUNT NAME:                                      ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:                TAX

       Ending Balance per Bank Statement              $
        Plus, Total Amount of Outstanding Deposits           $
        Minus Total Amount of Outstanding Checks and other debits       $
                                                      *
        Minus Service Charges                                $
       Ending Balance per Check Register                     $                         **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:


The following disbursements were paid by Cash: ( ☐ Check here if cash disbursements were
authorized by
                                           United States Trustee)
Date     Amount         Payee             Purpose           Reason for Cash Disbursement




The following non-tax disbursements were made from this account:

Date    Amount           Payee             Purpose              Reason for disbursement
                                                         from this account


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(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount
reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                       ATTACHMENT 5C

                            CHECK REGISTER - TAX ACCOUNT

DEBTOR HAS NO EMPLOYEES
Name of Debtor:                                            Case Number:

Reporting Period beginning                                 Period ending

NAME OF BANK:                                         BRANCH:

ACCOUNT NAME:                                         ACCOUNT #

PURPOSE OF ACCOUNT:                    TAX

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.
http://www.usdoj.gov/ust/
          CHECK
DATE NUMBER               PAYEE                  PURPOSE                             AMOUNT




TOTAL                                                                                               (d)
                                  SUMMARY OF TAXES PAID

Payroll Taxes Paid                                                                             (a)
Sales & Use Taxes Paid                                                                         (b)
Other Taxes Paid                                                                               (c)
TOTAL                                                                                _________ (d)


(a) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements
    (Page MOR-2, Line 5O).
(b) This number is reported in the “Current Month” column of Schedule or Receipts and Disbursements
    (Page MOR-2, Line 5P).



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(c) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements
    (Page MOR-2, Line 5Q).
(d) These two lines must be equal.
                                       ATTACHMENT 4D

                INVESTMENT ACCOUNTS AND PETTY CASH REPORT

                               INVESTMENT ACCOUNTS

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks
and bonds, etc., should be listed separately. Attach copies of account statements.

Type of Negotiable
                                                                                     Current
Instrument             Face Value        Purchase Price       Date of Purchase       Market Value




TOTAL                                                                                                 (a)
                                    PETTY CASH REPORT

The following Petty Cash Drawers/Accounts are maintained:

                       (Column 2)             (Column 3)               (Column 4)
                       Maximum                Amount of Petty    Difference between
Location of            Amount of Cash         Cash On Hand (Column 2) and
Box/Account            in Drawer/Acct.        At End of Month    (Column 3)




TOTAL                                         $                   (b)

For any Petty Cash Disbursements over $100 per transaction, attach copies of receipts. If
there are no receipts, provide an explanation




TOTAL INVESTMENT ACCOUNTS AND PETTY CASH(a + b)                             $
(c)

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(c)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the
   amount reported as “Ending Balance” on Schedule of Receipts and Disbursements (Page
   MOR-2, Line 7).




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                                      ATTACHMENT 6

                                 MONTHLY TAX REPORT

Name of Debtor:                                           Case Number:

Reporting Period beginning                                Period ending

                                  TAXES OWED AND DUE

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales
tax, property tax, unemployment tax, State workmen's compensation, etc.

Name of               Date                                          Date Last
Taxing                Payment                                       Tax Return      Tax Return
Authority             Due          Description          Amount        Filed           Period




TOTAL                                               $




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                                         ATTACHMENT 7

                 SUMMARY OF OFFICER OR OWNER COMPENSATION

                SUMMARY OF PERSONNEL AND INSURANCE COVERAGES

Name of Debtor:                                                 Case Number:

Reporting Period beginning                                      Period ending

Report all forms of compensation received by or paid on behalf of the Officer or Owner during
the month. Include car allowances, payments to retirement plans, loan repayments, payments of
Officer/Owner’s personal expenses, insurance premium payments, etc. Do not include
reimbursement for business expenses Officer or Owner incurred and for which detailed receipts
are maintained in the accounting records.
                                            Payment
Name of Officer or Owner              Title         Description                   Amount Paid




                                      PERSONNEL REPORT
                                                                        Full Time        Part Time
Number of employees at beginning of period                              _________       _________
Number hired during the period
Number terminated or resigned during period
Number of employees on payroll at end of period


The Debtor has no employees.

                              CONFIRMATION OF INSURANCE

List all policies of insurance in effect, including but not limited to workers' compensation,
liability, fire, theft, comprehensive, vehicle, health and life. For the first report, attach a copy of
the declaration sheet for each type of insurance. For subsequent reports, attach a certificate of
insurance for any policy in which a change occurs during the month (new carrier, increased
policy limits, renewal, etc.).

Agent                                   Date                and/or      Phone

Policy           Coverage     Expiration         Premium
Carrier                Number                    Number                 Type                      Date
          Due


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         __________

The following lapse in insurance coverage occurred this month:

Policy           Date             Date
Type             Lapsed           Reinstated        Reason for Lapse




⁪ Check here if U. S. Trustee has been listed as Certificate Holder for all insurance policies.


                                            ATTACHMENT 8


             SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Information to be provided on this page, includes, but is not limited to: (1) financial transactions
that are not reported on this report, such as the sale of real estate (attach closing statement); (2)
non-financial transactions, such as the substitution of assets or collateral; (3) modifications to
loan agreements; (4) change in senior management, etc. Attach any relevant documents.




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We anticipate filing a Plan of Reorganization and Disclosure Statement on or before
.




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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


IN RE:                                      :     CASE NO. 16-68343-wlh
                                            :
CAMELOT CLUB CONDOMINIUM                    :     CHAPTER 11
ASSOCIATION, INC.,                          :
                                            :
       Debtor.                              :

                              CERTIFICATE OF SERVICE

       I, M. Denise Dotson, certify that on the date specified herein below, cause to be
served a true and correct copy of the Monthly Operating Report for April 2018 via United
States Postal Service mail, in a properly addressed envelope with sufficient postage to ensure
delivery on the following party:

       Office of the United State Trustee
       362 Richard B. Russell Building
       75 Ted Turner Drive, SW
       Atlanta, GA 30303


       This 21st day of May, 2018.

 M. DENISE DOTSON, LLC
 By: /s/ M. Denise Dotson

  M. Denise Dotson
  Georgia Bar No. 227230
  P.O. Box 435
  Avondale Estates, GA 30002
  (404) 210-0166


 ddotsonlaw@me.com
